      Case 2:11-cr-00010-WHA-CSC Document 57 Filed 06/20/11 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION


UNITED STATES OF AMERICA                        )

vs.                                             )   CR. NO. 2:11cr010-WHA-02

CARL HAWKINS, JR.                               )


                                            ORDER

       No timely objection having been filed to the Recommendation of the Magistrate Judge

(Doc. #49), entered on June 3, 2011, and after a review of the file, the Recommendation is

ADOPTED, and it is hereby

       ORDERED that the Defendant’s Motion to Sever (Doc. #33) is DENIED.

       DONE this 20th day of June, 2011.



                                            /s/ W. Harold Albritton
                                            W. HAROLD ALBRITTON
                                            SENIOR UNITED STATES DISTRICT JUDGE
